         Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 1 of 19




                    IN THE UNITED STATES DISTRICT COURT

               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                  :

               v.                         :      CRIMINAL NO. 21-cr-307

RODNEY MARTINEZ                           :



                   GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by its attorneys, Jennifer Arbittier Williams, United

States Attorney for the Eastern District of Pennsylvania, and Louis D. Lappen, Deputy

United States Attorney for the District, hereby submits its sentencing memorandum in the

above-captioned case.

   I.      PRELIMINARY STATEMENT

        Defendant Rodney Martinez abused the trust placed in him as the Senior Director

of Maintenance in SEPTA’s Bridges and Buildings Department by engaging in a fraud

and bribery scheme with SEPTA vendors that provided him with over $140,000 in ill-

gotten gains, mostly in the form of regular cash payments from the corrupt vendors.

There was no excuse for this criminal behavior. He was a well-paid SEPTA manager and

supervisor who should have known better. Considering the criminal activity of all the

participants in this fraud scheme, the scheme cost SEPTA, under the most conservative

estimates, almost $900,000 and did tremendous monetary and psychic damage to SEPTA,

its employees, and the citizens who fund SEPTA through the payment of taxes and

ridership fares.
          Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 2 of 19




         On the other hand, after originally lying to agents, the defendant ultimately

admitted to his illegal conduct in a proffer with the government, has shown remorse, and

has accepted responsibility for his actions. For these reasons and the reasons set forth

below and in other sentencing documents, the government recommends a sentence below

the advisory guideline range of 46-57 months’ imprisonment. In particular, the

government recommends sentence within a range of 30-37 months, which is the

equivalent of a 4-level downward adjustment under the Sentencing Guidelines.

   II.      SUMMARY OF THE CRIMINAL ACTIVITY

         The charges in this case arose from the defendant’s participation in a fraud and

bribery scheme involving managers in the Bridges and Buildings Department (“BBD”) of

the Southeastern Pennsylvania Transportation Agency (“SEPTA”) and vendors who

supplied products to the BBD. The BBD is responsible for maintenance, construction,

and rehabilitation work performed at various SEPTA locations. Several SEPTA managers

in the BBD used their SEPTA-issued credit cards (“P-Cards”) to defraud SEPTA by

obtaining cash and personal products from vendors who supplied goods to SEPTA. To

cover cost of the products and cash provided to SEPTA employees, the vendors billed

SEPTA for products that the vendors did not provide to SEPTA. The vendors generally

billed SEPTA as much as double the amount provided to the corrupt managers so they

could share in the criminal proceeds. The vendors provided the cash and products to

SEPTA managers for two reasons: (1) to generate and share fraud proceeds with the

SEPTA managers; and (2) to maintain and increase business from SEPTA. The total loss
                                               2
        Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 3 of 19




to SEPTA is approximately $900,000.

       Among the different participants in this scheme, there were varying levels of

conspiratorial activity and engagement with others. The guideline and other stipulations

in Martinez’s case, and in the cases of the other participants in the scheme, reflect each

participant’s role in the scheme and engagement with other participants. Martinez was a

Director of Maintenance in SEPTA’s BBD, supervising other managers and lower-level

employees who performed maintenance work at SEPTA’s facilities. Martinez

participated in this scheme by obtaining approximately $144,285, mostly in the form of

cash, from vendors that fraudulently billed SEPTA to cover the corrupt payments to

Martinez and others. Considering the fraud activity of those with whom Martinez

participated in the scheme, this resulted in approximately $292,345 in losses to SEPTA.

              A. General Background Facts

       SEPTA is a metropolitan transportation authority providing rail, trolley, and bus

services to passengers within Philadelphia, Pennsylvania, and the surrounding counties as

well as service between the States of Delaware and New Jersey. SEPTA is an

organization, and an agency of a state government, which received annual benefits in

excess of $10,000 under federal programs involving grants, contracts, subsidies, loans,

guarantees, and other forms of federal assistance. In fact, in each of the years of the

charged fraud, SEPTA received well over $100 million from federal sources.

       Throughout the time of the fraud discussed in this memorandum, SEPTA issued

“procurement cards,” also known as P-Cards, which operated as SEPTA credit cards, to
                                              3
         Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 4 of 19




managers working in SEPTA’s BBD. The managers worked at various jobsites where

SEPTA facilities were under construction for rehabilitation and renovation. SEPTA had

established written rules and procedures that were provided to these employees

concerning the use of these cards.

       SEPTA rules allowed the P-Cards to be used for legitimate business reasons to

purchase materials and equipment for jobsites when there was an emergency need for

those materials and equipment that were not available in SEPTA’s stock system. Under

SEPTA rules, most materials for a jobsite should have been purchased in advance of the

project through the purchase order process. The SEPTA Procurement Card Procedures

Manual (“the Manual”) specifically provided that the procurement card program was “not

an alternative to, nor is it intended to circumvent, the normal procurement policies and

procedures.”

       Consistent with the purpose of the procurement cards, beginning in 2017, the

Manual further limited the use of the cards to (1) $1,000 for a single transaction; (2)

$4,000 for daily purchases; (3) and no more than four transactions per day. Employees

were not permitted to artificially break up purchases to hide violations of the rules, e.g.,

by making multiple purchases to avoid crossing the $1,000 threshold, also known as

“fragmenting.” Prior to 2017, these limits were lower, i.e., $500 for a single transaction

and $2,000 for daily purchases.




                                              4
        Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 5 of 19




              B. The Fraud Activity

                  1. The Overall Scheme

       For many years, beginning around 2013, SEPTA managers with the BBD engaged

in a fraud and bribery scheme with particular SEPTA vendors to defraud SEPTA by

abusing SEPTA’s P-Card system. The vendors provided SEPTA managers with cash and

merchandise in exchange for vendors billing SEPTA for products that the vendors did not

provide. The vendors shared in the proceeds of the fraud.

       The two primary vendors involved in this fraud were MSI Tool Repair and Supply

and AM Services and Supplies (collectively referred to here as “MSI”) and Advantage

Industrial Supply (“AIS”). SEPTA records show that MSI was the highest biller on the

SEPTA P-cards. From 2010 through 2019, MSI billed SEPTA approximately $3.7

million for products and tool repair services. The third highest biller during this period

was AIS, charging SEPTA $1.9 million for industrial supplies. MSI was owned and

operated by Mark Irvello. AIS was owned and operated by Stanley Woloff. Both Irvello

and Woloff pleaded guilty in related cases.

       The scheme began around 2013 when David Abell (who also pleaded guilty in a

related case) separately agreed, first with Mark Irvello of MSI, and then with Stanley

Woloff of AIS (collectively “the vendors”), to engage with each of them in a fraud and

bribery scheme against SEPTA. Abell agreed with the vendors that the vendor would

provide Abell with regular cash payments for Abell’s personal benefit and that the vendor

would falsely bill SEPTA through the P-Card system for items that the vendor was not
                                              5
        Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 6 of 19




providing to SEPTA. The false charges would cover the cash payments to Abell plus as

much as double that amount to provide an equal share of fraud proceeds for the vendor.

       Abell and the vendors understood and agreed that the vendors would make these

cash payments to Abell not only to generate fraud proceeds for themselves, but also to

maintain and grow the vendors’ business with SEPTA. As part of this understanding and

agreement, Abell purchased goods for SEPTA from MSI and AIS and encouraged and

directed other SEPTA managers and employees in the BBD, including Martinez, to make

purchases from MSI and AIS. Those managers and employees followed Abell’s direction

and made purchases from MSI and AIS without necessarily knowing why they were

encouraged to use these vendors.

       After agreeing to engage in this scheme, Abell regularly solicited and demanded

cash payments from the vendors. Irvello and Woloff then regularly provided cash to

Abell, generally in amounts between $1,000 and $2,000 per month. The vendors then

charged the P-Cards of SEPTA managers for numerous items that they did not provide to

SEPTA to cover the cash they gave to Abell and to generate substantial fraud proceeds

for themselves.

       Abell identified for the vendors the items for which to charge SEPTA on the P-

Cards to make the charges appear legitimate and conceal the fraud from SEPTA and

authorities. Specifically, at Abell’s direction, the vendors then billed SEPTA for products

that SEPTA might use, but in fact, did not need at that time. Similarly, at Abell’s

direction, the vendors also billed SEPTA for products that they did provide to SEPTA,
                                             6
         Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 7 of 19




but billed SEPTA for substantially more of those products than they actually provided.

The vendors thus combined legitimate with fraudulent billing, making the scheme

difficult to detect.

       Working with Abell and other BBD managers, the vendors used the managers’ P-

Cards interchangeably to make it easier to generate fraud proceeds and bill SEPTA

without exceeding the transactional limits on the individual P-Cards. The vendors thus

used any manager’s P-Card for transactions without regard for who was making a

purchase or engaging in fraud with them.

       Irvello and Woloff provided Abell with cash payments on a regular basis,

approximately twice per month, from in or about 2013 until Abell left the employment of

SEPTA on or about May 25, 2016.

                       2. Martinez’s Role in the Scheme

       Approximately one year before David Abell left the employment of SEPTA, he

retired from his position as Senior Director of Maintenance and became a contractor for

SEPTA, continuing to work in SEPTA’s BBD as he did as a manager. SEPTA replaced

Abell with Rodney Martinez, making Martinez the new Senior Director of Maintenance,

overseeing the other managers and employees in the BBD. Abell trained Martinez in his

new position and introduced Martinez to the cash-payment aspect of the fraud and

bribery scheme.

       Vendors Irvello and Woloff then made regular cash payments to Abell and

Martinez and continued to falsely bill SEPTA for products that they did not provide to
                                               7
        Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 8 of 19




SEPTA, as described above. The false billing covered the cash payments to Abell and

Martinez, and provided fraudulent proceeds for the vendors.

      Beginning on or about May 25, 2016, when Abell left the employment of SEPTA,

Irvello and Woloff continued the fraud and bribery scheme with Martinez. That is,

Martinez regularly solicited cash payments from Irvello and Woloff who provided cash to

Martinez and fraudulently billed SEPTA through the P-Cards to cover the cash payments

and the vendors’ share of the fraud proceeds.

      Around this time, Martinez invited Jesse Fleck to join the scheme with Irvello and

Woloff. At the request of Martinez, Fleck helped identify the items for which Irvello and

Woloff would falsely bill SEPTA. Fleck then shared, in part, in the cash proceeds he

obtained from Irvello and Woloff. Fleck received a small portion of the cash that

Martinez generated for himself in this scheme.

      Several other SEPTA BBD managers, including those identified in the

information, engaged in similar fraud activity with vendors Irvello and Woloff. Those

managers solicited the vendors for cash and personal items at no cost to the SEPTA

managers. The vendors agreed to provide the cash and personal items to the managers,

and as the parties further understood and agreed, the vendors fraudulently billed SEPTA

to cover the cost of those payments and products and to generate additional fraud

proceeds for the vendors. Martinez began to engage in this scheme as early as 2014 when

he obtained flooring for his home from Woloff. Martinez received other personal items as

part of this scheme from Woloff and Irvello.
                                               8
        Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 9 of 19




       From in or about 2013 through in or about 2019, vendors Mark Irvello and Stanley

Woloff, through their companies, each became one of SEPTA’s largest billers on the P-

Card. In doing so, Irvello defrauded SEPTA of more than $540,000, and Woloff

defrauded SEPTA of more than $330,000. From in or about 2014 through 2019, during

the time that defendant Martinez participated in the fraud and bribery scheme, Martinez

obtained for himself approximately $144,285 in proceeds. Considering his role with

others in the scheme (including Abell, Fleck, and the vendors), he is responsible for

losses to SEPTA of approximately $292,345.

       III.   STATUTORY MAXIMUM PENALTIES
       The Court may impose the following statutory maximum sentences: Count One

(theft from an organization receiving federal funds), 10 years’ imprisonment, a three-year

period of supervised release, a $250,000 fine, and a $100 special assessment; and Count

Two (bribery involving a program receiving federal funds), 10 years’ imprisonment, a

three-year period of supervised release, a $250,000 fine, and a $100 special assessment.

       Total Maximum Sentence is: 20 years’ imprisonment, a three-year period of

supervised release, a $500,000 fine, and a $200 special assessment. Full restitution of

$292,345 also shall be ordered. Forfeiture of $144,285, which represents all proceeds the

defendant obtained from the fraud and bribery offenses, also shall be ordered.

       IV.    SENTENCING GUIDELINES

       The government agrees with the guideline calculation for the bribery offense,

which drives the calculation in this case, as set forth in the Presentence Investigation

                                              9
        Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 10 of 19




Report (“PIR”): Under USSG § 2C1.1(a)(2), the base offense level for bribery is 12.

Under USSG § 2C1.1(b)(1), the offense involved more than one bribe or extortion,

resulting in a 2-level increase to the base offense level. Under USSG § 2B1.1(b)(1)(G),

the value of that which was obtained by the defendant and his co-schemers, and the loss

to SEPTA is more than $250,000 but less than $550,000, resulting in a 12-level increase

to the base offense level. The defendant accepted responsibility and did so in a timely

manner, resulting in a 3-level downward adjustment under USSG § 3E1.1(a) and (b).

       This results in a total offense level of 23. The defendant is in Criminal History

Category I, yielding a sentencing guideline range of 46 to 57 months in prison.

       Consideration of the 3553(a) Factors

       (1)    The nature and circumstances of the offense

       The nature and circumstances of Martinez’s criminal conduct are extremely

serious and troublesome. As the Senior Director of Maintenance, Martinez was at the

highest level of management within the BBD. He was the head of a department

responsible for managing approximately 200 employees who were responsible for

renovating and maintaining SEPTA’s numerous facilities. Martinez’s performance should

have set the tone for the performance of this large group of SEPTA employees. Rather

than conduct himself with integrity and set a positive example for his subordinates, he

abused his position to defraud SEPTA through a credit card system designed to allow

respected management employees to obtain necessary materials for important projects.

Martinez betrayed the trust placed in him and deprived SEPTA and the citizens who rely
                                             10
        Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 11 of 19




on public transportation of funds that should have been used for SEPTA’s legitimate

needs. His conduct was more egregious than that of most of the other participants in the

scheme. He was at the highest level of leadership in the BBD, he demanded and received

regular cash payments from the corrupt vendors, and he brought Jesse Fleck into the cash

portion of the scheme. He should have been setting an example of integrity at SEPTA,

but instead, he was at the forefront of a fraud and bribery scheme that involved numerous

participants.

       As noted above, Martinez obtained approximately $144,285 in proceeds and is

responsible for losses to SEPTA of approximately $292,345. Given these figures, he is

one of the most culpable participants in the scheme.

       Crimes like this do tremendous damage to federally funded agencies like SEPTA.

They cause the taxpayers and citizens of Philadelphia to lose faith in the integrity of one

of the largest metropolitan transportation organizations in the country. People are already

cynical about government and government-funded entities like SEPTA, and internal

fraud and bribery activity as charged in this case, fans the flames of this cynicism.

Internally at SEPTA, these crimes demoralize the dedicated, honest, and hard-working

employees who worked with and for the corrupt supervisors charged in this case. SEPTA

has expended and will continue to expend substantial financial and psychic resources

trying to repair the damage from the fraud and ensure that it does not happen again.

       SEPTA provided a victim impact statement, signed by Denise S. Wolf,

Inspector General, and Robin Deveney, Director, Procurement & Supply Chain
                                             11
           Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 12 of 19




Management Audit, in which they expressed the ways in which this crime damaged the

organization:

          The criminal fraud executed by nine bad actors damaged this organization, its
          employees, and the members of the public who rely on us for their transportation
          needs. To put it simply, it hurt a lot. We still feel the impact --- financial loss,
          decreased morale, and damaged reputation -- and the effects of this fraud on the
          organization are not going away any time soon. SEPTA is not a for-profit
          enterprise; it relies heavily on funding from taxpayers to subsidize the fares
          received from riders. We depend on the integrity of each of our employees to
          steward these public funds and provide transit services to millions of riders. When
          employees – even if only a small number -- violate this public trust, the damage to
          our organization is tremendous.

This was obviously a serious crime that had a substantial impact on the victim, and the

government’s sentencing recommendation appropriately accounts for this sentencing

factor.


          (2)    The history and characteristics of the defendant.

          Defendant Martinez is a 50-year-old man who has a supportive family, including a

wife who has medical problems. The defendant has no drug, alcohol, or mental health

problems. He has no criminal history. Unlike so many cases that come before this Court,

the defendant’s personal history does not offer any explanation for his decision to engage

in this criminal conduct. Clearly, the defendant should have known better.

          To the defendant’s credit, when confronted by the government about this fraud (in

the presence of his attorney), the defendant admitted to his misconduct and expressed




                                               12
        Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 13 of 19




remorse. 1 Since the time that he proffered with the government, he has been fully

cooperative in describing to the government the details of his criminal activity. He has

conducted himself extremely well throughout the investigation and litigation of this case.

The government’s recommended below-guidelines sentence properly accounts for the

defendant’s history and characteristics.

       (3)    The need for the sentence imposed to reflect the seriousness of the
              offense, to promote respect for the law, and to provide just punishment
              for the offense; and

       (4)    The need to afford adequate deterrence to criminal conduct, and to
              protect the public from further crimes of the defendant.

       A prison sentence below the applicable guidelines in the range recommended by

the government under all the facts and circumstances of this case (including those set

forth in other sentencing documents) would appropriately punish the defendant for

defrauding SEPTA. The government also appreciates that the defendant is losing his

pension because of the convictions here. The recommended sentence would promote

respect for the law and deter public employees who might contemplate engaging in this

type of fraud from doing so. Crimes like this are difficult to detect, as evidenced by the

length of time that the defendant and others engaged in the fraud here, making it even

more essential that the sentence deter those who might abuse their positions as public

employees to engage in this type of criminal activity.



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 Martinez had originally denied engaging in the fraud when confronted by law
enforcement authorities.
                                             13
        Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 14 of 19




       As numerous courts have recognized, fidelity to the guidelines and imposing

serious prison sentences serve a particularly important purpose in the area of white-collar

crime. For instance, the Supreme Court in Mistretta v. United States, 488 U.S. 361, 375

n.9 (1989), noted that the Senate Report on the Sentencing Reform Act “gave specific

examples of areas in which prevailing sentences might be too lenient, including the

treatment of major white-collar criminals.” Accord United States v. Ebbers, 458 F.3d

110, 129 (2d Cir. 2006) (“[T]he Guidelines reflect Congress’ judgment as to the

appropriate national policy for [white-collar] crimes....”); United States v. Mueffelman,

470 F.3d 33, 40 (1st Cir. 2006) (noting the importance of “the minimization of

discrepancies between white- and blue-collar offenses”). In United States v. Martin, the

Court of Appeals for the Eleventh Circuit provided the following explanation:


              Our assessment is consistent with the views of the drafters of § 3553. As
       the legislative history of the adoption of § 3553 demonstrates, Congress viewed
       deterrence as ‘particularly important in the area of white collar crime.’ S.Rep. No.
       98-225, at 76 (1983), reprinted in 1984 U.S.C.C.A.N. 3182, 3259. Congress was
       especially concerned that prior to the Sentencing Guidelines, ‘[m]ajor white collar
       criminals often [were] sentenced to small fines and little or no imprisonment.
       Unfortunately, this creates the impression that certain offenses are punishable only
       by a small fine that can be written off as a cost of doing business.’ Id.


455 F.3d 1227, 1240 (11th Cir. 2006).

       This is especially true here. The sentence imposed must communicate to Martinez

and the public that the justice system will not tolerate this type of fraud and bribery

activity. The sentence recommended by the government, which amounts to significant


                                             14
        Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 15 of 19




prison time for this first-time offender, would send the appropriate message to the

community that anyone who engages in fraud and bribery, and especially someone who is

entrusted to serve the public in a leadership position, will suffer serious consequences.

       (5)    The need to provide the defendant with educational or vocational
              training, medical care, or other correctional treatment in the most
              effective manner._________________________________________

       There is no need in this case to provide the defendant, a skilled and experienced

maintenance supervisor, with educational or vocational training. Thus, this statutory

factor should not affect the Court’s sentencing determination.

       (6)    The need to avoid unwarranted sentence disparities among defendants
              with similar records who have been found guilty of similar conduct.

       Considering all the facts and circumstances discussed in this memorandum and

elsewhere, the recommended sentence would not result in any unwarranted disparities

among similarly situated defendants. The recommended sentence fairly considers this

defendant’s conduct and the circumstances of his case and would be consistent with the

sentences of defendants in other cases of this nature, including that of other defendants in

this case. The government’s sentencing recommendations for the participants in this

scheme reflect consider their relative culpability and the individual facts and

circumstances of each case.

       Considering the relative culpability of the defendants in this scheme, Martinez is

at the higher level of culpability among the SEPTA employees, along with David Abell

and Stephen Kish. David Abell was the originator of the scheme and a prolific

                                             15
        Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 16 of 19




participant, regularly obtaining cash from both vendors and encouraging his employees to

purchase products for SEPTA from the corrupt vendors. He brought Martinez into the

scheme who then took over Abell’s role and helped Abell continue to profit from the

scheme after Abell left his high-ranking position and continued with SEPTA as a

contractor. Martinez then regularly obtained cash and brought Fleck into the scheme to

assist him in the false billing. Kish was below Abell and Martinez in the SEPTA

hierarchy, but was the most prolific SEPTA manager in the fraud, obtaining over

$250,000 in proceeds, much of it in the form of gold. Kish also obstructed justice as part

of the scheme and was one of the last participants to accept responsibility and agree to

plead guilty for his conduct. Thus, the defendants at the higher level of culpability and

who should face the most serious consequences among the SEPTA employees are Abell,

Martinez, and Kish.

       At the lower level of culpability among the SEPTA employees are Turner, Fleck,

Brady, and Brauner. They were below Abell and Martinez in SEPTA management and

they participated to a lesser extent in the fraud than Abell, Martinez, and Kish.

       The corrupt vendors in this case, Irvello and Woloff should be considered more

culpable than the lower-level SEPTA participants in the scheme because their conduct

was far more extensive and involved repeated fraud and bribery activity over several

years. While they did not abuse the trust of the public and SEPTA as did the SEPTA

managers, Irvello and Woloff were a substantial engine driving the criminal activity in

the multiple schemes involved in these cases. Their culpability thus is closer to that of the
                                             16
        Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 17 of 19




higher-level SEPTA employees, but without the abuse of the public trust that represents

the most abhorrent aspect of the criminal activity in this case.

       The sentence recommended by the government in this case properly accounts for

the relative culpability of Martinez, considering his high-level role with SEPTA and his

substantial criminal activity.

       (7)    The need to provide restitution to any victims of the offense.

       This Court need not otherwise fashion a sentence that considers the need for the

defendant to pay restitution. Under the terms of the plea agreement, the defendant should

be ordered to pay restitution of $292,345 and forfeiture of $144,285. The defendant will

be able to make monthly payments toward his financial obligations in small amounts

while in prison and in larger amounts after he is released.

       V.     SENTENCING RECOMMENDATION

       For all the reasons set forth above, the government requests that this Court impose

a prison sentence below the guideline range of 46 to 57 months, and within a range of

approximately 30 to 37 months. This Court should also impose restitution and forfeiture

as noted above. Such a sentence would properly consider all the sentencing factors in the

context of this case, particularly the seriousness of the offense and the need to promote




                                             17
        Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 18 of 19




respect for the law and deter others from engaging in similar illegal conduct.

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                                          Respectfully submitted,

                                          JENNIFER ARBITTIER WILLIAMS
                                          United States Attorney



                                          s/ Louis D. Lappen
                                          LOUIS D. LAPPEN
                                          Deputy United States Attorney




                                            18
       Case 2:21-cr-00307-CDJ Document 13 Filed 04/27/22 Page 19 of 19




                           CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the Government’s Sentencing

Memorandum has been filed on ECF and served via email upon:

                          Saul Steinberg, Esquire
                          415 Federal Street
                          Camden, NJ 08103
                          E-mail: ssteinberg@zswlaw.com


                                        /s Louis D. Lappen
                                        LOUIS D. LAPPEN
                                        Deputy United States Attorney




Date: April 27, 2022




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